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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN

 ANTOL, DEREK, individually and as
 next friend for DSAII, a minor, DEREK
 S. ANTOL, JR. and TRYSTON ANTOL,

             Plaintiffs,                   Case No. 1:17-cv-613

 v.                                        HON. JANET T. NEFF

 ADAM DENT, KATE STRAUS, CASEY               JOINT STATEMENT OF MATERIAL
 BRINGEDAHL, CASEY TRUCKS,                   FACTS FOR DEFENDANTS DENT,
 PETE KUTCHES, and WESTERN                     STRAUS, BRINGEDAHL AND
 MICHIGAN ENFORCEMENT TEAM, a                      KUTCHES’ MOTION
 public body organized under the laws of        FOR SUMMARY JUDGMENT
 the State of Michigan,

          Defendants.
____________________________________________________________________
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 Attorney for Plaintiffs              Curt A. Benson (P38891)
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  JOINT STATEMENT OF MATERIAL FACTS FOR DEFENDANTS DENT, STRAUS,
      BRINGEDAHL AND KUTCHES’ MOTION FOR SUMMARY JUDGMENT

             The Plaintiffs and Defendants, by their attorneys, and pursuant to this Court’s Civil

Practice Guidelines, submit the following Joint Statement of Material Facts for

Defendants’ Motion for Summary Judgment:

             1.     This case arises from law-enforcement activities of WMET (West Michigan

Enforcement Team). WMET is a multi-agency task force under the direction of the

Michigan State Police. It is comprised of officers from West Michigan law-enforcement

agencies from Ottawa, Muskegon and Allegan Counties. It exists by virtue of the Urban

Cooperation Act of 1967, M.C.L. § 124.105-512.

             2.     Plaintiff Derek Antol operated a retail shop at 85 East Apple Avenue, in the

City of Muskegon. Deuces Wild sells smoking accessories, vapor supplies, e-cigs, vapor

juice, and other smoking related products. (See Antol Dep. p. 12, l.3-9).

             3.     On June 4, 2013, Detective Adam Dent, a police officer for the City of

Muskegon, working undercover for WMET, displayed to Samantha Conklin, Derek Antol’s

fiancé and an employee of Deuces Wild, a previously completed application for a medical

marijuana card. Ms. Conklin reviewed the paperwork and concluded it was valid. Another

employee took Det. Dent into a back room where Det. Dent observed a cash register and

approximately twenty-four to thirty jars of marijuana, each labeled with a different name

on top. He purchased $45 worth of marijuana. (Dent Dep. pp. 13-20)

             4.     On June 18, 2013, Detective Dent returned to Deuces Wild and paid

Samantha Conklin $30 for more marijuana. (Dent Dep. p. 22, l. 2-3)

             5.     A little more than a year later, on July 9, 2014, Michigan State Police

Detective Sergeant Carl Schmitz of the MSP Sixth District Tobacco Team contacted a



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member of WMET in reference to an administrative tobacco inspection they were

conducting on Deuces Wild. The tobacco tax team advised that it observed several jars

of suspected marijuana in the rear of the business. WMET arrived at Deuces Wild and

also observed the marijuana. WMET obtained three search warrants: one for Deuces

Wild, and one each for two homes owned by Mr. Antol: one located at 423 Farr Road

and the other located at 1769 North Green Creek Road. The affidavits and search

Warrants are attached as Exhibits 1, 2 and 3

             6.    In executing the warrant at Deuces Wild, WMET seized a significant amount

of marijuana, approximately $21,000 in U.S. currency, cellphones, computers,

surveillance equipment, and loaded hand gun (found in Ms. Conklin’s car).

             7.    At some point while officers were present at Dueces Wild, Derek Antol

handed a cell phone to his son Derek, Jr. who left the scene with his biological mother.

             8.    When learning from another officer that Derek, Jr. had left with the phone,

Det. Dent, in the presence of Mr. Antol’s attorney, instructed Mr. Antol to direct Derek, Jr.

to return the phone. Derek, Jr. returned to the scene and gave the phone to his father

who handed it to Detective Dent.

             9.    On July 9, 2014, Defendants Bringedahl, Trucks and Kutches were in front

of the Green Creek address awaiting the arrival of a search warrant.

             10.   In waiting for the search warrant, the officers encountered a man coming

from the residence and walking toward the barn. Upon questioning the man, he said he

was an electrician working for Mr. Antol. He further stated he “did not know” whether

anyone else was in the house. Based on this information, Detective Bringedahl contacted

Kate Straus, then a detective sergeant with the Muskegon Police Department, and Det.




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Sgt Straus requested the officers to enter the home to secure the residence prior to the

search warrant. (Bringedahl Dep. p. 13, l. 8-1-3)

             11.   Derek Antol received a Notice of Seizure and Intent to Forfeit made

pursuant to MCL 333.7523.

             12.   Derek Antol posted bond pursuant to MCL 333.7523 (1)(c).

             13.   In July and August of 2014, the Muskegon County Prosecutors Office

instituted three civil forfeiture actions in Muskegon County Circuit Court. The seized

surveillance/security equipment and DVR were not listed as items to be forfeited.

             14.   On June 29, 2015, the parties to the forfeiture action consented to an Order

regarding the property seized during the execution of the search warrants. See attached

Exhibit 4.

             15.   After conversations and email exchanges with Senior Assistant Muskegon

County Prosecuting Attorney Matthew Roberts, Detective Straus destroyed the DVR.

(See Straus Dep. p. 22, l. 9-23. See also Roberts Dep. p 12, l. 11-17.)

                                       Respectfully submitted,


                                       BOSTIC & ASSOCIATES
DATED: September 20, 2018
                                       By J. Nicholas Bostic________________________
                                         J. Nicholas Bostic (P40653)
                                         Attorney for Plaintiffs

                                       CUMMINGS, McCLOREY, DAVIS & ACHO, P.L.C.
DATED: September 20, 2018
                                       By /s/ Curt A. Benson________________________
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                                         Strauss, Casey Bringedahl and Pete Kutches




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